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11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13

14   Michael Katz-Lacabe and Dr. Jennifer       Case No. 3:22-cv-04792-RS
     Golbeck, on behalf of themselves and all
15   others similarly situated,                 PLAINTIFFS’ STATEMENT REGARDING
                                                DEFENDANT ORACLE AMERICA, INC.’S
16                                              ADMINISTRATIVE MOTION TO
                    Plaintiffs,                 CONSIDER WHETHER PLAINTIFFS’
17          vs.                                 MATERIAL SHOULD BE SEALED

18   ORACLE AMERICA, INC., a corporation        Judge: Hon. Richard Seeborg
     organized under the laws of the State of
19   Delaware,                                  Date: March 28, 2024
                                                Time: 1:30pm
20                  Defendant.                  Courtroom: 3
21
                                                Date Action Filed: August 19, 2022
22                                              Trial Date: None set

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                                                           PLFS’ STATEMENT IN RESPONSE TO ORACLE’S
                                                                    ADMINISTRATIVE MOTION TO SEAL
                                                                               CASE NO. 3:22-CV-04792
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 1            As required by Civil Local Rules 7-11 and 79-5(f), Plaintiffs file this statement regarding

 2   Oracle’s Administrative Motion To Consider Whether Plaintiffs’ Material Should Be Sealed.

 3   Plaintiffs incorporate their Administrative Motion to File Under Seal and the related declaration

 4   of David T. Rudolph by reference (Dkts. 98, 98-1), and submit a proposed order that identifies the

 5   portion of Oracle’s Surreply Response sought to be sealed.

 6            As an initial matter, Oracle improperly filed its sealing request under the incorrect rule

 7   (the correct rule for this motion is Civil Local Rule 79-5(c)). Oracle itself produced and

 8   designated the documents quoted in the Surreply and Surreply Response as “Highly Confidential-

 9   Attorneys’ Eyes Only”1 under the Protective Order in this matter. It has not modified those

10   designations, nor did it object to or otherwise respond to Plaintiffs’ Administrative Motion to Seal

11   this same material (Dkt. 98). Apparently now unwilling to stand by its designation of this material

12   as warranting sealing, by filing the present motion as a motion to consider whether “Plaintiffs’

13   Material”—rather than its own—should be sealed, Oracle misrepresents the nature of these

14   documents (which it, and not Plaintiffs, produced) to the Court, and sidesteps its obligations to

15   defend its own confidentiality designations.

16            Nevertheless, adequate independent grounds exist for sealing the material quoted in

17   Oracle’s Surreply Response.

18            The text sought to be sealed in Oracle’s Surreply Response is a sensitive political segment

19   Oracle takes from Plaintiffs’ Surreply Brief. See Surreply, Dkt. 98-2 at 5 n.13. Plaintiffs have

20   already moved to seal that interest segment through their own motion and declaration. See Dkt.

21   98; Rudolph Decl., Dkt. 98-1 at 6. As Plaintiffs explain in their own sealing motion, while courts

22   must balance “the competing interests of the public [against those of] the party who seeks to keep

23   certain judicial records secret,” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097

24   (9th Cir. 2016) (citation omitted), Plaintiffs’ reasons for sealing a sensitive portion of Oracle’s

25   surreply response “outweigh the general history of access and the public policies favoring

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       The Protective Order in this matter requires that only “extremely sensitive ‘CONFIDENTIAL
27   Information or Items,’ disclosure of which . . . would create a substantial risk of serious harm that
     could not be avoided by less restrictive means” qualifies for the designation of “Highly
28   Confidential-Attorneys’ Eyes Only.” Dkt. 28 at 2.
                                                                    PLFS’ STATEMENT IN RESPONSE TO ORACLE’S
                                                       -1-                   ADMINISTRATIVE MOTION TO SEAL
                                                                                        CASE NO. 3:22-CV-04792
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 1   disclosure,” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178‒79 (9th Cir. 2006)

 2   (citations omitted). This Court has recognized that “[i]t would be perverse to hold an individual

 3   entitled to no protection where a company amalgamates many pieces of information about that

 4   individual’s preferences on the grounds that revealing any one preference is no big deal.” Order

 5   Granting in Part and Den. in Part Pls.’ Mot. to Seal at 17, ECF No. 77 (Oct. 3, 2023) (“Order”).

 6   This especially holds where the parties quote “audiences” selected to convey particularly

 7   sensitive information about Plaintiffs.

 8          Oracle’s audiences and segments are uniquely generated for each Plaintiff and reveal

 9   intimate personal information, decisions, and activities that should be kept private. See In re

10   Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 604 (9th Cir. 2020) (finding Plaintiffs had

11   a privacy interest in “highly personalized profiles from sensitive browsing histories and habits”

12   that were collected and compiled about them). It would be incongruous to require public

13   disclosure of sensitive personal information to litigate claims brought to protect that information.

14   This Court has recognized Plaintiffs’ cognizable legal interest in protecting information about

15   their “likes, dislikes, interests, and habits,” Order at 17 (quoting In re Facebook, 956 F.3d at 599);

16   this data, “when combined with other data points across masses of data, may be exploited to

17   deduce startlingly personal characteristics,” 105 Cal. Op. Att’y Gen. 26 (2022) (available at 2022

18   WL 815641, at *5) (citations omitted). Placing their “startlingly personal characteristics” in the

19   public record would harm Plaintiffs.

20          By contrast, the public has only a minimal interest in learning sensitive details about

21   Plaintiffs’ lives. See Ctr. for Auto Safety, 809 F.3d at 1096 (presumption of public access is based

22   on the interests of “accountability and for the public to have confidence in the administration of

23   justice,”) (citations omitted). Plaintiffs’ Surreply Brief demonstrates the highly sensitive

24   categories that Oracle maintains and sells about individuals. However, revealing Plaintiffs’

25   political activities and other sensitive information will not aid the public’s “understanding [of] the

26   judicial process.” Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 679 n.6 (9th Cir. 2010) (citations

27   omitted). As the Court previously found, “even with redactions, [Plaintiffs’ documents] still

28   communicate to the public the types of information that are at issue in this action.” Order at 17.
                                                                   PLFS’ STATEMENT IN RESPONSE TO ORACLE’S
                                                      -2-                   ADMINISTRATIVE MOTION TO SEAL
                                                                                       CASE NO. 3:22-CV-04792
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 1          In this instance, Plaintiffs have compelling reasons to seal their private material that

 2   outweigh the public’s interest in its disclosure. Plaintiffs respectfully request that the Court Seal a

 3   Portion of Defendant’s Surreply Response in Support of Defendant’s [Third] Motion to Dismiss

 4   Portions of the Second Amended Complaint.

 5

 6    Dated: March 22, 2024                   /s/ Michael W. Sobol
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                                                                    PLFS’ STATEMENT IN RESPONSE TO ORACLE’S
                                                       -3-                   ADMINISTRATIVE MOTION TO SEAL
                                                                                        CASE NO. 3:22-CV-04792
